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                           EXHIBIT B

    (Plaintiff’s email and responses to the Requests for Admission)
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From:                              Dave Maxfield <dave@consumerlawsc.com>
Sent:                              Friday, May 28, 2021 7:30 PM
To:                                Rush Smith
Subject:                           Viscuso v. Quicken Loans
Attachments:                       2021.05.28 Plaintiff Responses to Quicken RTA.pdf; First RTA to Quicken R.pdf; First RTP
                                   to Quicken R.pdf; First INT to Quicken R.pdf


◄External Email► - From: davemaxfield28@gmail.com

Rush -- attached please find our Responses to Quicken's First Request for Admission; these will be sent by mail to you as
well.

I have pared down our outgoing discovery (courtesy copy attached) and will send those to you by mail as well.


--
Dave Maxfield
Dave Maxfield, Attorney, LLC
P.O. Box 11865
Columbia, SC 29211
803-509-6800 (T)
855-299-1656 (F)
www.consumerlawsc.com

Office Address (by appointment):
SOCO 80808 Building
808 D Lady Street
Columbia, SC 29201
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Adjunct Professor, University of South Carolina School of Law

Author of the ABA's Bestseller The Lean Law Firm: Run Your Firm Like the World's Most Profitable and Efficient
Businesses and Co-Host of The Lean Law Firm Podcast

NO ATTORNEY-CLIENT RELATIONSHIP: Please note that no attorney-client relationship is created by this e-mail
correspondence unless there exists an enforceable fee contract/employment agreement between the corresponding
parties.




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